         Case 2:19-cv-00098-MHT-JTA Document 40 Filed 11/14/19 Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              MIDDLE DISTRICT OF ALABAMA
                                   NORTHERN DIVISION

GAVIN MCINNES,                                )
                                              )
         Plaintiff,                           )
                                              )
v.                                            )       CIVIL ACTION NO.
                                              )       2:19-cv-00098-MHT-JTA
THE SOUTHERN POVERTY LAW                      )
CENTER, INC.,                                 )
                                              )
         Defendant.                           )

                          NOTICE OF SUPPLEMENTAL AUTHORITY

         Defendant SPLC respectfully submits this Notice to inform the Court of the recent decision

of the United States District Court for the District of Maryland in Allen v. Beirich, No. 1:18-cv-

3781-CCB, 2019 WL 5962676 (D. Md. Nov. 13, 2019) [hereinafter “Allen”]. 1 This decision is

relevant to SPLC’s argument in this case that Plaintiff McInnes’s suit must be dismissed on the

basis that SPLC’s “hate group” designations, as well as other statements published by SPLC

containing descriptions such as “Islamophobe” and “racist,” are constitutionally protected, non-

actionable opinions rather than factual statements susceptible of being proven true or false. 2

         The defendants in Allen were SPLC and two of its employees, and a central issue in the

case involved the actionability of SPLC’s statements, made in an article on its website and in a

publication referencing its 2016 Hate Map, associating Allen with racist beliefs and a racist

political party. Allen, 2019 WL 5962676, at *1, *4. The court dismissed Allen’s defamation and

related tort claims, holding: “[T]he … article and 2016 Hate Map are protected by the First

Amendment.” Id. at *6. Specifically with regard to Allen’s association with the political party


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    A copy of the Allen memorandum opinion is submitted with this notice.
2
    See Doc. 17 at 41–43, 48–49.

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       Case 2:19-cv-00098-MHT-JTA Document 40 Filed 11/14/19 Page 2 of 3




characterized by SPLC as racist, the court first noted that Allen did not dispute SPLC’s underlying

factual assertion that he belonged to the party, and then held that SPLC’s description of said party

as “racist” was not actionable because it was not subject to being “proven as verifiably true or

false.” Id. (quoting Squitieri v. Piedmont Airlines, Inc., No. 3:17-cv-441, 2018 WL 934829, at *4

(W.D.N.C. Feb. 16, 2018)).

       Respectfully submitted this 14th day of November, 2019.



                                              s/ Shannon Holliday
                                              Shannon Holliday [ASB-5440-Y77S]
                                              Robert D. Segall [ASB-7354-E68R]
                                              Benjamin W. Maxymuk [ASB-9590-M67M]
                                              COPELAND, FRANCO, SCREWS & GILL, P.A.
                                              P.O. Box 347
                                              Montgomery, AL 36101-0347
                                              Email: holliday@copelandfranco.com
                                              Email: segall@copelandfranco.com
                                              Email: maxymuk@copelandfranco.com

                                              Attorneys for Defendant
                                              Southern Poverty Law Center




                                                 2
      Case 2:19-cv-00098-MHT-JTA Document 40 Filed 11/14/19 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on the 14th day of November, 2019, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

to:


       G. Baron Coleman
       Baron Coleman Law Firm
       P.O. Box 789
       Montgomery, AL 36101-0789
       Email: gbaroncoleman@gmail.com

       Ronald D. Coleman
       Lauren X. Topelsohn
       Mandelbaum Salsburg PC
       1270 Avenue of the Americas
       Suite 1808
       New York, NY 10020
       Email: rcoleman@lawfirm.ms
       Email: ltopelsohn@lawfirm.ms

       Brock Boone
       Randall Charles Marshall
       ACLU of Alabama
       P.O. Box 6179
       Montgomery, AL 36106
       Email: bboone@aclualabama.org
       Email: rmarshall@aclualabama.org


                                                     s/ Shannon L. Holliday
                                                     Of Counsel




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